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UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLORIDA

OCALA DIVISION

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

Plaintiff,
Case No. 5:23-cv-43 1-GAP-PRL

v.
JOSEPH MICHAEL TODD,
TODD FINANCIAL SERVICES, LLC, and
TFS INSURANCE SERVICES LLC

Defendants.

JUDGMENT AS TO INJUNCTIVE RELIEF AGAINST DEFENDANTS
JOSEPH MICHAEL TODD, TODD FINANCIAL SERVICES, LLC, AND
TFS INSURANCE SERVICES LLC
The United States Securities and Exchange Commission having filed a Complaint and
Defendants Joseph Michael Todd ("Todd"), Todd Financial Services, LLC ("TFS"), and TFS
Insurance Services LLC ("TFS Insurance") (collectively "Defendants") having entered a general
appearance; consented to the Court's jurisdiction over Defendants and the subject matter of this
action; consented to entry of this Judgment without admitting or denying the allegations of the
Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph VII);
waived findings of fact and conclusions of law; and waived any right to appeal from this
Judgment:
I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants Todd,
TFS, and TFS Insurance are permanently restrained and enjoined from violating, directly or

indirectly, Section 1 0(b) of the Securities Exchange Act of 1934 (the "Exchange Act") [15
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U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any

means or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to state a material fact

necessary in order to make the statements made, in the light of the circumstances

under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would

operate as a fraud or deceit upon any person.

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person, or (ii)

disseminating false or misleading documents, materials, or information or making, either orally

or in writing, any false or misleading statement in any communication with any investor or

prospective investor, about:

(A)

(B)
(C)
(D)
(E)
(F)
(G)
(H)
(1)

matters relating to a decision by an investor or prospective investor to
buy or sell securities of any company,

any investment strategy or investment in securities,

the prospects for success of any product or company,

the use of investor funds,

compensation to any person,

any offering of securities,

the registration status of such offering or of such securities,
Defendants’ qualifications to advise investors, or

the misappropriation of investor funds or investment proceeds.
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IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Judgment by personal service or otherwise: (a) Defendants’ officers,
agents, servants. employees, and attorneys; and (b) other persons in active concert or
participation with Defendants or with anyone described in (a).

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
Defendants Todd and TFS are permanently restrained and enjoined from violating Section 17(a)
of the Securities Act of 1933 (the "Securities Act") [15 U.S.C. § 77q(a)] in the offer or sale of
any security by the use of any means or instruments of transportation or communication in
interstate commerce or by use of the mails, directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means ofany untrue statement of a material fact
or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;
or

(c) to engage in any transaction, practice, or course of business which operates or
would operate as a fraud or deceit upon the purchaser.

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person, or (ii)
disseminating false or misleading documents, materials, or information or making, either orally
or in writing, any false or misleading statement in any communication with any investor or
prospective investor, about:

{A) matters relating to a decision by an investor or prospective investor to

buy or sell securities of any company,

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(8) any investment strategy or investment in securities,

(C) the prospects for success of any product or company,

(D) any offering of securities,

(E) the registration status of such offering or of such securities,
(F) the use of investor funds,

{G) compensation to any person,

(H) Defendants' qualifications to advise investors, or

( the misappropriation of investor funds or investment proceeds.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Judgment by personal service or otherwise: (a) Defendants' officers,
agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendants or with anyone described in (a).

HI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to
Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5}], Defendants Todd. TFS, and TFS
Insurance are permanently restrained and enjoined from from directly or indirectly, including,
but not limited to, through any entity owned or controlled by Defendants, participating in the
issuance, purchase, offer, or sale of any security; provided, however, that such injunction shal I
not prevent Defendants from purchasing or selling securities for their own personal accounts.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendants' officers,
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agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendants or with anyone described in (a).
IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to
Section 20(e) of the Securities Act [15 U.S.C. § 77t(e}] and Section 21(d)(2) of the Exchange
Act [15 U.S.C. § 78u(d)(2)], Defendant Todd is prohibited from acting as an officer or director
of any issuer that has a class of securities registered pursuant to Section 12 of the Exchange
Act [15 U.S.C. § 781] or that is required to file reports pursuant to Section | 5(d) of the

Exchange Act [15 U.S.C. § 780(d)].

V.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
Defendants Todd and TFS shall pay disgorgement of ill-gotten gains, prejudgment interest
thereon, and civil penalties pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)]
and Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)], and that Defendant TFS Insurance
shall pay disgorgement of ill-gotten gains, prejudgment interest thereon, and civil penalties
pursuant to Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]. The Court shall determine
the amounts of the disgorgement and civil penalty upon motion of the Commission.
Prejudgment interest shall be calculated from the dates Defendants received the ill-gotten gains,
based on the rate of interest used by the Internal Revenue Service for the underpayment of
federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission's
motion for disgorgement and/or civil penalties, and at any hearing held on such a motion: (a)
Defendants will be precluded from arguing that they did not violate the federal securities laws as
alleged in the Complaint; (b) Defendants may not challenge the validity of the Consent or this

Final Judgment; (c) solely for the purposes of such motion, the allegations of the Complaint shall
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be accepted as and deemed true by the Court; and (d} the Court may determine the issues raised
in the motion on the basis of affidavits, declarations, excerpts of sworn deposition or
investigative testimony, and documentary evidence, without regard to the standards for summary
judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection with
the Commission's motion for disgorgement and/or civil penalties, the parties may take discovery,

including discovery from appropriate non-parties.
VI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of
exceptions to discharge set forth in Section 523 of the Bankruptcy Code, I 1 U.S.C. § 523, the
allegations in the complaint are true and admitted by Defendants, and further, any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendants under this
Judgment or any other judgment, order, consent order, decree or settlement agreement entered in
connection with this proceeding, is a debt for the violation by Defendants of the federal securities
laws or any regulation or order issued under such laws, as set forth in Section 523(a)( 19) of the
Bankruptcy Code, 11 U.S.C. § 523(a)( 19).

VIL.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.
VHI.
The Court will enter a separate order regarding the procedure for adjudicating the issues of

disgorgement, pre-judgment interest and civil penalties.

DONE AND ORDERED this 2 U day of July 2023.

UNITED 5S DISTRICT JUDGE
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